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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

STRIKE 3 HOLDINGS, LLC,                          )
                                                 )
       Plaintiff,                                )   Civil Case No. 1:21-cv-00249-TSE-MSN
                                                 )
v.                                               )
                                                 )
JOHN DOE, subscriber assigned IP address         )
96.231.213.240,                                  )
                                                 )
       Defendant.                                )
                                                 )

                 PLAINTIFF’S NOTICE OF SETTLEMENT AND
            VOLUNTARY DISMISSAL WITH PREJUDICE OF DEFENDANT

       PLEASE TAKE NOTICE, Plaintiff Strike 3 Holdings, LLC (“Plaintiff”) has settled this

matter with Defendant John Doe, subscriber assigned IP address 96.231.213.240 (“Defendant”),

through Defendant’s counsel, Paul Sanders, Esq. Pursuant to the settlement agreement’s terms,

Plaintiff hereby voluntarily dismisses Defendant from this action with prejudice.      Pursuant to

Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant has neither answered Plaintiff’s Complaint nor filed a

motion for summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for administrative

purposes.

       Dated: May 10, 2021                           Respectfully submitted,

                                                     /s/ Dawn M. Sciarrino
                                                     Dawn M. Sciarrino, Esq.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2021, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and

interested parties through this system.


                                                   By: /s/ Dawn M. Sciarrino
                                                         Dawn M. Sciarrino, Esq.
